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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


Philip Wilkinson and Pam Reed,               §
individually and on behalf of                §
a class or classes of all others similarly   §
situated,                                    §
                                             §     Cause No. ____________
                        Plaintiffs           §
                                             §
v.                                           §
                                             §
BDO USA, LLP and BDO                         §
International Ltd.,                          §
                                             §
                        Defendants.


                 PLAINTIFFS’ ORIGINAL CLASS ACTION COMPLAINT




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       PLAINTIFFS PHILIP WILKINSON and PAM REED, individually and on behalf

of two separate classes of all others similarly situated, file this Original Class Action

Complaint (the “Complaint”) against DEFENDANTS BDO USA, LLP and BDO

INTERNATIONAL LTD. The following allegations are based upon information and belief

(such information and belief being based, in part, upon the investigation conducted by Plaintiffs’

counsel), except those allegations that pertain to the named Plaintiffs and Plaintiffs’ counsel,

which are based upon personal knowledge.             The named Plaintiffs and Plaintiffs’ counsel

expressly reserve the right to supplement or amend this Complaint based upon Plaintiffs’

counsel’s ongoing investigation of the facts and circumstances concerning the allegations in this

Complaint. In support of this Complaint, the named Plaintiffs show the Court as follows:

                                          I.   PARTIES

       1.      Plaintiff Philip Wilkinson is a citizen of the United States of America currently

residing in Harris County, Texas.

       2.      Plaintiff Pam Reed is a citizen of the United States of America currently residing

in Travis County, Texas.

       3.      Additionally, this case seeks certification of a class of all investors who, as of

February 17, 2009, had purchased and still held Certificates of Deposit (“CDs”) and/or otherwise

maintained deposit accounts with Stanford International Bank Ltd.

       4.      Additionally, if necessary, this case also seeks certification of a class of all

investors who were clients or customers of Stanford Group Company, Stanford Trust Company

(Louisiana), or Stanford Fiduciary Investor Services, and as of February 17, 2009, had purchased

and still held CDs and/or otherwise maintained deposit accounts with Stanford International

Bank Ltd. (Collectively, these two classes are referred to as the “Classes”).




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       5.      Defendant BDO USA, LLP (“BDO USA”) is a Delaware limited liability

partnership with its principal place of business in Chicago, Illinois. Defendant may be served

with service of process by serving the Secretary of State by certified mail, return receipt

requested, pursuant to Rules 106 and 108a of the Texas Rules of Civil Procedure. Defendant

may also be served through its registered agent, Corporation Service Company d/b/a CSC-

Lawyers Incorporating Service Company, at 211 East 7th Street, Suite 620, Austin, Texas 78701.

Defendant may also be served by serving process on one of its partners, James Fielding, at 515

Congress Avenue, Suite 2600, Austin, Texas 78701.

       6.      Defendant BDO International Ltd. (“BDO International “) is a worldwide network

of public accounting firms, including but not limited to: (i) BDO International Limited, a United

Kingdom company limited by guarantee with its principal place of business in London, United

Kingdom; (ii) BDO Global Coordination B.V., an entity incorporated under Netherlandish law

with its statutory seat in Eindhoven, Netherlands and an office in Brussels, Belgium; (iii)

Brussels Worldwide Services BVBA, a limited liability company incorporated in Belgium with

its statutory seat in Brussels, Belgium; (iv) BDO USA, LLP, a Delaware limited liability

partnership with its principal place of business in Chicago, Illinois; (v) BDO Ecuador, an

accounting firm formed under Ecuadorian law with its principal place of business in Quito,

Ecuador; (vi) BDO Castillo Miranda y Compañía, S.C. (“BDO Mexico”), an accounting firm

formed under Mexican law with its principal place of business in Mexico City, Mexico; (vii)

BDO Peru, an accounting firm formed under Peruvian law with its principal place of business in

Lima, Peru; and (viii) BDO España (“BDO Spain”), a Spanish limited company formed under

Spanish law with its principal place of business in Madrid, Spain. (Collectively, these firms and

any other member firms in BDO International’s network of public accounting firms are referred




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to as BDO International’s “Member Firms”.) BDO International has engaged in business in the

State of Texas but does not maintain a regular place of business or a designated agent for service

of process in Texas. BDO International may be served via the Hague Convention on the Service

Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters, 1965 U.S.T.

361, 658 U.N.T.S. 163 (1965). BDO International may be served at its home office address at 55

Baker St., W1U 7EU, London, United Kingdom.

       7.      Collectively, BDO USA and BDO International are referred to as “BDO” in this

Complaint.

                               II.   PERSONAL JURISDICTION

       8.      This Court has personal jurisdiction over non-resident BDO USA under the Texas

Long Arm Statute. BDO USA has conducted continuous and systematic business in the State of

Texas for many years and is therefore subject to general jurisdiction. Furthermore, as described

herein, BDO USA has engaged in specific jurisdiction contacts with the State of Texas,

specifically with Stanford Financial Group, including Stanford Group Company, headquartered

in Houston, Texas, that give rise to Plaintiffs’ causes of action, and therefore BDO USA has

done business and committed torts, in part, in the State of Texas.

       9.      Beginning in 1995, BDO USA provided audit, tax, and other professional services

to the most important businesses of Stanford Financial Group, headquartered and controlled in

Houston, Texas, including Stanford Group Company, Stanford Trust Company (Louisiana),

Stanford Group Holdings, Stanford International Bank Ltd., Stanford Capital Management, LLC,

and Stanford Coins & Bullion, Inc. When providing such audit and other professional services

to these Stanford Financial Group entities, BDO USA engaged in extensive contacts with

Stanford Financial Group personnel based in Houston, Texas. In conjunction with BDO USA’s

provision of such audit and other professional services to Stanford Financial Group, BDO USA


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engaged in contacts with the State of Texas that assisted and perpetuated the Stanford Ponzi

scheme described herein. BDO USA also maintains, and has maintained, offices in Texas.

Based on its general and specific contacts with the State of Texas, BDO USA has purposefully

availed itself of the privilege of conducting activities within Texas and has established minimum

contacts with the State of Texas under the Texas Long Arm Statute.

       10.     Furthermore, BDO International, either directly or through its network of

affiliated Member Firms and agents, has engaged in specific jurisdiction contacts with the State

of Texas.    Specifically, BDO International, directly and/or through its Member Firms, has

engaged in specific jurisdiction contacts with Stanford Financial Group headquartered in

Houston, Texas, these contacts give rise to Plaintiffs’ causes of action, and therefore BDO

International has done business and committed torts, in part, in the State of Texas. Beginning in

1995, BDO International, directly and/or through its Member Firms, provided audit, tax,

consulting, and/or other services to Stanford Financial Group headquartered in Houston, Texas,

and in that capacity, engaged in extensive contacts with Stanford Financial Group personnel

based in Houston, Texas to provide such services. In providing such services to Stanford

Financial Group, BDO International, acting directly and/or through its Member Firms, provided

consulting or other professional services to Stanford International Bank Ltd., which was

controlled by Stanford Financial Group in Houston, Texas, including certain services for the

Stanford Task Force (defined and described later in this Complaint) and conducting an

operational review of Stanford International Bank Ltd. BDO International, acting directly and/or

through its Member Firms, also improperly issued unqualified audit opinions on the annual

financial statements of various Stanford Financial Group companies, which were controlled by

Stanford Financial Group in Houston, Texas, including the annual financial statements of




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Stanford Group Company, Stanford Trust Company (Louisiana), Stanford Group Holdings,

Stanford Capital Management, LLC, and Stanford Coins & Bullion, Inc. BDO International,

acting directly and/or through its Member Firms, also provided audit, tax, consulting, and/or

other services to Stanford Financial Group companies in Ecuador, Mexico, Peru, and Spain, and

such companies were controlled by Stanford Financial Group in Houston, Texas. Based on its

general and specific contacts with the State of Texas, BDO International, acting directly and/or

through its Member Firms, has purposefully availed itself of the privilege of conducting

activities within Texas and has established minimum contacts with the State of Texas under the

Long Arm Statute.

                    III.   SUBJECT MATTER JURISDICTION & VENUE

       11.     This Court has jurisdiction over this action, and venue is proper, under Section

22(a) of the Securities Act (15 U.S.C. § 77v(a)) and Section 27 of the Exchange Act (15 U.S.C.

§ 78aa).

       12.     This Court also has original jurisdiction over this proceeding pursuant to 28

U.S.C. § 1332(a)(1)-(2) because the matter in controversy exceeds the sum or value of $75,000,

exclusive of interest and costs, and is between (1) citizens of different States, and (2) citizens of

a State and citizens or subjects of a foreign state. Plaintiffs are citizens of the State of Texas and

Defendant is a citizen of the States of Delaware and Illinois. Further, this case seeks certification

of a class of all investors who purchased and still held CDs and/or otherwise maintained deposit

accounts with Stanford International Bank Ltd. as of February 17, 2009, and many of these

investors are citizens of foreign states, including but not limited to Colombia, Ecuador, Mexico,

Panama, Peru, Venezuela, the United Kingdom, and Switzerland.

       13.     This Court also has original jurisdiction over this proceeding pursuant to 28

U.S.C. §1332(d)(2)(A) because this is a class action in which the amount in controversy exceeds


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$5,000,000.00 and is a class in which some members of the Plaintiff class are citizens and

residents of states different from Defendant.

                               IV.   FACTUAL BACKGROUND

A.        The Stanford Financial Group Empire

          14.   From the mid 1980s through February 2009, R. Allen Stanford (“Stanford”) — a

former gym owner from Mexia, Texas — built a financial service empire that at its height

boasted 30,000 customers in 130 countries managing billions of dollars in investment funds. The

empire was comprised of over 140 companies from across the globe, all of which were

ultimately owned by Stanford himself. The companies operated under the brand name “Stanford

Financial” with their worldwide headquarters located in Houston, Texas. The conglomeration of

Stanford companies (hereinafter collectively referred to as “Stanford Financial Group”) included:

the Houston, Texas-based registered broker/dealer and investment adviser company Stanford

Group Company (“SGC”); the Antiguan-based offshore bank Stanford International Bank Ltd.

(“SIBL”); Stanford Trust Company (Louisiana) (“STC”); Stanford Trust Company (Antigua);

and the representative offices of Stanford Trust Company (Antigua), d/b/a “Stanford Fiduciary

Investor Services” (“SFIS”), that operated in Miami, Houston and San Antonio.           Stanford

Financial Group was controlled and managed principally from Houston, Texas in the United

States.

          15.   Stanford Financial Group’s offshore banking operation began as Guardian

International Bank in the mid 1980s. Over the years, Stanford Financial Group grew into a full-

service financial services firm, offering worldwide clients private banking and U.S.-based

broker/dealer and investment adviser services. Stanford Financial Group gave its clients all the

appearances of a highly successful operation, with lavish offices in some of the world’s premier




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cities. Stanford himself made the Forbes’ list of the richest people in the world with a personal

fortune estimated at $2.2 billion.

       16.     The entire Stanford Financial Group operation was fueled by one primary

product: CDs issued by SIBL, the Antiguan offshore bank wholly owned and controlled by

Stanford himself. Clients who were introduced to the Stanford Financial Group, whether in

Houston, Miami, Caracas, or Mexico City, quickly learned that the main financial product

peddled by the group was the SIBL CD. The SIBL CDs were sold worldwide by a web of

different Stanford Financial Group promoter companies, including SGC, STC and SFIS, whose

sole function was to promote the sale of SIBL CDs. For example, to access additional investor

capital in Latin America, Stanford Financial Group established representative offices in

Colombia (Stanford Group Columbia a/k/a Stanford Bolsa y Banca), Ecuador (Stanford Group

Ecuador a/k/a Stanford Group Casa de Valores, S.A. and Stanford Trust Company

Administradora de Fondos y Fideicomisos, S.A.), Mexico (Stanford Group Mexico a/k/a

Stanford Group Mexico S.A. de C.V. and Stanford Fondos), Panama (Stanford Group Panama

a/k/a Stanford Bank Panama and Stanford Casa de Valores Panama), Peru (Stanford Group Peru

a/k/a Stanford Group Peru S.A. Sociedad Agente de Bolsa), and Venezuela (Stanford Group

Venezuela a/k/a Stanford Group Venezuela C.A., Stanford Bank Venezuela, and Stanford Group

Venezuela Asesores de Inversion). These foreign offices were ultimately controlled by Stanford

Financial Group’s entities and employees in Houston, Texas. By 2009, SIBL’s vast network of

domestic and foreign offices had sold over $7.2 billion in CDs.

B.     Stanford Financial Group’s Operations in the United States

       17.     For the first decade of its CD sales operations, 1985 to 1995, Stanford Financial

Group and its offshore bank (whether Guardian International Bank or SIBL) targeted a Latin

American clientele. But by the mid 1990s, Stanford Financial Group had begun to establish a


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foothold in the United States. In 1995, Stanford Financial Group established SGC, a Texas

corporation, and in February 1996, SGC was registered as a broker/dealer and investment

adviser. SGC established offices initially in Houston and Baton Rouge. Stanford Financial

Group began the practice of “head hunting” for U.S. brokers, bankers, and other financial

advisers, paying enormous signing bonuses to the brokers, bankers and other financial advisers

to leave their jobs at other firms and transfer their book of clients over to SGC. Fueled by this

influx of veteran bankers, brokers and investment advisers, SGC grew from 6 branch offices in

the United States in 2004 to 33 offices across the United States in 2009.

       18.     Early on, Stanford Financial Group recognized the huge potential for marketing

its offshore CDs to Latin Americans via the “gateway” city of Miami. In 1998, Stanford

Financial Group established SFIS, a representative office of SIBL in Miami, and disguised SFIS

as the representative office of Stanford Trust Company (Antigua) in order to evade U.S. banking

regulations. The Miami office of SFIS generated over $1 billion in SIBL CD sales for Stanford

Financial Group, primarily from sales to investors from South American countries such as

Colombia, Ecuador, Peru, and Venezuela. Stanford Financial Group also set up SFIS offices in

Houston and San Antonio, Texas to cater to Mexican investors visiting those cities and bring in

more investment money to feed the ever expanding Ponzi scheme.

       19.     To increase sales of its SIBL CDs, Stanford Financial Group determined that it

could convert U.S. investors’ IRA funds to the SIBL CDs. STC was therefore established in

Baton Rouge, Louisiana in 1998 to serve as the trustee/custodian for IRA accounts owned by

investors referred to STC by SGC — a service that traditional IRA custodians would not provide.

After STC was established, SGC’s brokers and investment advisers convinced the IRA investors

to invest some or, in most cases, all of their IRA accounts into the SIBL CDs.




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       20.     For all of the Stanford promoter companies — whether SGC, SFIS, or STC — the

primary product marketed and sold was the SIBL CD, as it sustained Stanford Financial Group’s

operations and paid the employees’ exorbitant salaries and bonuses. The promoter companies

were all members of Stanford Financial Group, were ultimately owned by Stanford himself, were

interconnected via intercompany marketing and referral fee agreements, and were controlled by

Stanford Financial Group in Houston, Texas.

       21.     Houston, Texas was the nerve center and principal base for all of Stanford

Financial Group’s operations, including SIBL, SGC, SFIS, and STC. STC was wholly owned

and controlled by Houston-based SGC, and virtually every member of the STC Board of

Directors at any time was an employee of SGC. SGC directed the operations of STC and

provided all administrative functions from Houston.        STC’s annual budget and financial

forecasts were prepared by SGC in Houston, and even reimbursement of expenses for STC

employees was handled by Stanford Financial Group’s corporate accounting team in Houston.

       22.     All the sales and marketing practices for the entire Stanford Financial Group

(including SIBL), as well as general operational and administrative functions, were managed

under the overall direction, supervision, and control of the Houston offices. SIBL itself never

had a marketing or sales arm in Antigua. Stanford Financial Group used entities like SGC, SFIS,

and STC to continue selling SIBL CDs and bring in new money to feed the Ponzi beast.

       23.     The head of Stanford Financial Group’s global sales operation for the marketing

and sale of SIBL CDs was located in Houston, Texas. All the sales practices, directives,

techniques, strategies and reward programs for Stanford Financial Group, including SIBL, were

developed and crafted in Houston and disseminated to the various Stanford Financial Group

branch offices around the world. All the sales force training manuals, promotional literature, and




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materials for SIBL, including the Spanish-language promotional materials used by SGC, STC

and SFIS, were created, printed, packaged and mailed from Stanford’s Houston headquarters to

the other Stanford Financial Group sales offices around the world to be utilized by the local sales

force in each country.

       24.     In addition, mandatory sales training for the Stanford Financial Group sales force

for SIBL was conducted principally in Houston (known to the foreign financial advisers as the

“Houston experience”) by Stanford Financial Group personnel. In those mandatory training

sessions, sometimes twice a year, Stanford Financial Group’s financial advisers (“FAs”) were

trained to sell the image of Stanford Financial Group. The “script” for why SIBL was a safe and

secure place to invest money, as set forth in the training manuals and reinforced “live” in

Houston, was drilled into their heads again and again.

C.     The Anatomy of the Stanford Ponzi Scheme

       25.     The reality of Stanford Financial Group’s empire was that it was nothing but a

massive, worldwide Ponzi scheme. Stanford Financial Group violated the laws of virtually every

country it operated in, including the United States, Ecuador, Mexico, Venezuela, and Antigua.

Stanford’s repeated commission of regulatory fraud in various countries enabled and fostered the

growth of SIBL’s CD sales.

       26.     The gist of the fraud was actually quite simple: (1) sell the offshore SIBL CDs

through a flashy marketing campaign designed to trick investors into believing they were

purchasing safe, secure (even insured) and liquid CDs that were regulated in the United States

because SGC was a U.S. licensed broker/dealer; while at the same time (2) maintaining a

“Wizard of Oz” veil of secrecy over the SIBL asset portfolio and what Stanford was doing with

the CD investors’ money (which ended up being whatever Allen Stanford wanted).               Thus




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Stanford and Stanford Financial Group went to great lengths to keep prying eyes, particularly

regulatory eyes, away from SIBL’s operations.

       27.     SIBL was actually insolvent (i.e., its liabilities exceeded the fair value of its

assets) from at least 2004 and probably for much longer, yet it continued selling CDs to the bitter

end. Stanford induced investors to buy CDs by offering above-market rates, issuing financial

statements and other data that significantly overstated SIBL’s earnings and assets, and

misrepresenting its business model, investment strategy, financial strength, safety and nature of

its investments, and other facts important to investors. In reality, SIBL’s earnings and assets

were insufficient to meet its CD-payment obligations, so the only way Stanford Financial Group

could keep the scheme going was by using proceeds from new CD sales to pay redemptions,

interest, and operating expenses. SIBL’s assets were inflated to offset CD obligations and its

revenues were “reverse-engineered” to arrive at desired levels. Each year or quarterly reporting

period, Stanford Financial Group would simply determine what level of fictitious revenue SIBL

“needed” to report in order to both look good to investors and regulators and purport to cover its

CD obligations and other expenses.        Stanford Financial Group would then back into the

necessary revenue amount by assigning equally fictitious revenue amounts to each category

(equity, fixed income, precious metals, alternatives) of a fictitious investment allocation.

               a.     Guardian International Bank and Stanford International Bank Ltd.

       28.     Stanford opened his first offshore bank, Guardian International Bank (“Guardian

Bank”), in 1985 on the tiny Caribbean island of Montserrat (12,000 residents). The following

year, Stanford established Guardian Bank’s representative offices in Miami, Florida and

Houston, Texas under the name of Guardian International Investment Services (“Guardian

Services”), which was designed to cater to wealthy Latin American clients. Stanford brought in




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his old college roommate, James Davis, to help run operations.       The Guardian Bank and

Guardian Services model was an early blueprint for what later became the Stanford Financial

Group empire. Guardian Bank offered CDs with rates typically 2% to 3% above the average

rates available in the market, all with the confidentiality associated with offshore private

banking.

       29.     By 1989, the banking system in Montserrat came under investigation by British

and U.S. authorities. Consequently, Guardian Bank itself came under scrutiny for possible drug

money laundering, so Stanford looked to move his bank to a new location. In December 1990,

Stanford re-incorporated Guardian Bank in Antigua and transferred all the assets of his

Montserrat-licensed bank to the new Antiguan-licensed Guardian Bank.           By May 1991,

Stanford’s banking license was officially revoked by the Montserrat Government (although in

1994 Stanford sued the Government of Montserrat to have that order rescinded). In effect,

Stanford simply picked up his banking operations and moved them to Antigua, and continued the

same basic business plan that had proven so profitable for Stanford in Montserrat. Stanford

eventually changed the name of his Antiguan bank from Guardian Bank to Stanford International

Bank Ltd. in 1994.

               b.    Stanford Seizes Control of Antigua’s Banking Regulators

       30.     Once established in Antigua, Stanford quickly set about establishing a symbiotic

relationship with the local government. Stanford quickly became the island’s largest private-

sector employer and even bought the Antiguan newspaper, the Antiguan Sun. Additionally, in

return for political cover, Stanford eventually became a major source of funding for the entire

island, eventually loaning hundreds of millions of SIBL CD investors’ dollars to the Antiguan

government. By 2004, the island’s government owed Stanford Financial Group over $87 million




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— nearly half its annual tax revenues — with certain loans secured by the government’s tax

revenues and medical fund.

       31.     In fact, the Antiguan government’s relationship with Stanford was so incestuous

that Stanford himself actually rewrote Antigua’s banking laws. In 1996, Antigua began to suffer

from the same suspicions that doomed Stanford’s operations in Montserrat, so Stanford

approached the Antiguan government about these emerging new threats to SIBL’s operations in

Antigua. In June 1997, the Antiguan government formed the Antiguan Offshore Financial

Sector Planning Committee, appointing Stanford as chairman, to advise the government and

recommend changes to its banking laws. Stanford then leveraged his new committee to fund,

organize, and appoint his agents — including several of BDO’s partners — to a banking task

force that was charged with amending Antigua’s banking laws and supervising Antigua’s banks.

In January 1998, Stanford’s new task force (the “Stanford Task Force”) recommended sweeping

changes to Antigua’s banking laws and regulatory institutions. The Antiguan government later

adopted these recommendations, which included highly suspicious amendments to the nation’s

Money Laundering (Prevention) Act. Stanford also used his new Task Force, a precursor to

Antigua’s Financial Services Regulatory Commission (“FSRC”), to wrest control of Antigua’s

entire offshore banking industry, even stooping to the level of physically seizing bank records

from the previous Antiguan banking regulators.

       32.     Antigua’s corruption and lax banking regulations are borne out by the Plea

Agreement entered by Stanford CFO Jim Davis (the “Davis Plea”), as well as by the June 18,

2009 federal grand jury indictment of inter alia, Allen Stanford, Laura Pendergest-Holt, and

Leroy King (“King”), Stanford’s good friend and former head of Antigua’s FSRC (the

“Indictment”). The Davis Plea and Indictment allege that for years, King — while acting as the




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CEO of the Antiguan FSRC — accepted bribes from Stanford and/or his associates in return for

his assurance that the FSRC “looked the other way” and would not properly perform its

regulatory functions or supervise SIBL. In 2003, King even entered into a bizarre Voodoo-like

“blood brother” ritual with Allen Stanford in which he agreed to forever be bound to Allen

Stanford.    As part of this blood-brother relationship and bribery, King became Stanford’s

regulatory spy and “inside man” in terms of relaying information to Stanford concerning the

SEC’s investigations of Stanford Financial Group and SIBL from 2005 all the way until 2009.

All this was just part and parcel of Stanford’s broader conspiracy to keep his Ponzi scheme alive

by evading and obstructing regulation of SIBL’s activities at every turn and in every country.

               c.     Stanford Sells to Accredited Investors in the United States

       33.     In November 1998, Stanford Financial Group needed new capital to feed its Ponzi

scheme, so SIBL filed a Regulation D exemption with the United States Securities and Exchange

Commission (“SEC”). Stanford Financial Group used this exemption to sell SIBL CDs to U.S.

“accredited investors” in the United States without registering them as securities. SIBL’s initial

Reg. D filing listed CD offerings totaling only $50 million.

       34.     After the initial Reg. D filing in 1998, Stanford Financial Group began to exploit

U.S. investors and its empire grew exponentially. SIBL filed an amended Reg. D in November

2001 to increase the CD offering amount to $150 million.             SIBL filed two additional

amendments in 2004 (March and then November) increasing the size of SIBL’s offering to $200

million and then to $1 billion, clearly evidencing the mass sales of SIBL CDs taking place in the

United States. Finally, in November 2007, SIBL filed yet another Reg. D amendment to increase

the size of the offering to $2 billion. During those years, Stanford Financial Group sold CDs

under the Reg. D offering to well in excess of 1,000 investors.




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       35.     By 2003, Stanford Financial Group had printed and distributed to its FAs some

30,000 offering brochures for SIBL CDs. In 2005, Stanford Financial Group began an intensive

television advertising campaign in the United States designed to promote the sale of SIBL CDs.

By March 2006, Stanford Financial Group had distributed 4,424 SIBL CD “Accredited Investor”

subscription agreements to investors under the Reg. D offering.

               d.     Stanford Breeds Loyalty Through Exorbitant Compensation

       36.      From 2004 to 2008, Stanford Financial Group grew into a high-powered sales

and marketing juggernaut. The different Stanford Financial Group sales offices competed with

each other for SIBL CD sales, and developed team names like “Money Machine”, “Aztec

Eagles” (the Mexico team) and “Superstars”. In order to market and sell the SIBL CDs, Stanford

Financial Group established a commission structure that provided huge incentives for the

Stanford Financial Group FAs, including those at SGC, to sell as many SIBL CDs as possible.

The FAs became addicted to these outrageous commissions — which they referred to as “bank

crack” — and the FAs became more and more aggressive in pushing the SIBL CDs on innocent

investors like Plaintiffs, despite the high-risk nature of the investments. Specifically, SIBL paid

disproportionately large commissions to SGC for the sale of its CDs: SGC received a 3%

commission upon each sale of a SIBL CD, with 1% going to the SGC broker that made the sale,

and the FAs were eligible to receive an additional 1% trailing commission throughout the term of

the CD. Stanford Financial Group used this generous commission structure to recruit established

financial advisers, and to reward those advisers for aggressively selling the SIBL CDs to

investors. Of course, commission and bonus structures like that used by SIBL are not typical,

largely because they cannot be sustained economically.




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               e.    Dissecting the Fraud

       37.     The ultimate reality of Stanford Financial Group is that it was, at all times, a

Ponzi scheme based out of Houston, Texas.         In essence, Stanford Financial Group, acting

through its international network of companies, lured money from investors like Plaintiffs; sold

them fictitious “Certificates of Deposit;” and then pooled all the investors’ money together to

fund Allen Stanford’s lavish lifestyle and invest in various illiquid and high-risk assets

worldwide, including personal loans to Allen Stanford and speculative investments in Antiguan

real estate. None of the investors’ money was segregated. Instead, all investor money was

commingled and then sprinkled as private equity investments throughout the various companies

that comprised Stanford Financial Group. As such, Stanford Financial Group was violating the

Investment Company Act by operating as an unregistered outlaw hedge fund and selling its

internal securities product to Plaintiffs and others from Houston, Texas. Additionally, Section

47(b) of the Investment Company Act provides:

               A contract that is made, or whose performance involves, a
               violation of this [Investment Company] Act, is unenforceable by
               either party to the contract who acquired a right under the contract
               with knowledge of the facts by reason of which the making or
               performance violated or would violate any provision of this Act . .
               . unless a court finds that under the circumstances enforcement
               would produce a more equitable result than nonenforcement and
               would not be inconsistent with the purposes of this Act. 15 U.S.C.
               § 80a-46.

       38.     Stanford Financial Group was never registered nor authorized to operate as an

investment company in the United States, a fact that was never disclosed to Plaintiffs or

members of either Class, who were consistently and uniformly told verbally and via the Stanford

Financial Group promotional materials that, e.g., the Stanford Financial Group based in Houston,

Texas was compliant, authorized, and regulated by the SEC and Financial Industry Regulatory

Authority (“FINRA”), and backed by insurance coverage from the Securities Investor Protection


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Corporation (“SIPC”) and Lloyd’s of London. Plaintiffs and other investors were never told the

material fact that the acts of Stanford Financial Group and its unregistered investment company

were void as a matter of law under Section 47 of the Investment Company Act.

       39.     As part of the fraud committed on Plaintiffs and members of both Classes,

Stanford Financial Group also uniformly touted the high liquidity of SIBL’s investment

portfolio. For example, in its marketing materials distributed to Plaintiffs and members of both

Classes from at least 1995 through 2009, Stanford Financial Group emphasized the importance

of the SIBL CD’s liquidity, stating (under the heading “Depositor Security”) that the bank

focuses on “maintaining the highest degree of liquidity as a protective factor for our depositors.”

None of that was true. Likewise, Stanford Financial Group trained its advisers to stress liquidity

in their marketing pitches to prospective investors, telling the brokers and advisers that the

“liquidity/marketability of SIBL’s invested assets” was the “most important factor to provide

security to SIBL clients . . . .” To ensure investors would buy the SIBL CDs, Stanford Financial

Group, through its FAs, assured the investor clients that SIBL’s investments were liquid and

diversified, and therefore that the CDs themselves were highly liquid and could be redeemed

with just a few days notice. But in fact, nearly all of SIBL’s investments were concentrated in

high-risk, illiquid ventures: (1) unsecured personal loans to Allen Stanford in the amount of $1.8

billion; (2) private equity investments in non-public companies; and (3) private investments in

Stanford Financial Group companies with real estate holdings, including extensive real estate

holdings in Antigua and elsewhere in the Caribbean.

       40.     Contrary to Stanford Financial Group’s representations (both verbal and via the

promotional materials) to Plaintiffs and members of both Classes regarding the liquidity of its

portfolio from 1995 through 2009, significant portions of SIBL’s portfolio were misappropriated




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by SIBL’s sole shareholder, Allen Stanford, to fund his lavish lifestyle and invest heavily in

Caribbean real estate development ventures. In fact, by 2008, Stanford Financial Group was

essentially a real estate development fund, a crucial fact that was never disclosed to Plaintiffs or

members of either Class.

       41.     At the end of 2008, Stanford could account for only a fraction of the SIBL CD

obligations. The largest segments of SIBL’s portfolio consisted of “loans” to Stanford and over-

valued real estate, primarily in the Caribbean. By February 2009, Stanford Financial Group had

misappropriated at least $1.8 billion of investor money through bogus personal loans to Stanford

and “invested” an undetermined amount of investor funds in speculative, unprofitable private

businesses, including massive investments in real estate and other private business ventures in

Antigua. The rest of the CD investors’ money was spent by Stanford Financial Group on

creating and perpetuating the charade of Stanford Financial Group’s image, with lavish offices,

outsized bonuses and commissions paid to lure and retain top performing sales personnel,

extravagant special events for clients and employees, and the other accoutrements necessary to

shore up the Stanford Financial Group image of wealth, power, and prestige. None of this was

disclosed to Plaintiffs or members of either Class.

       42.     As alleged in the Davis Plea and in the criminal indictment of Allen Stanford and

his associates, Stanford and his CFO Jim Davis fabricated the performance of SIBL’s investment

portfolio and lied to investors about the nature and performance of that portfolio. Gilberto Lopez

and Mark Kuhrt, accountants for Stanford Financial Group companies, fabricated the financial

statements. Using a pre-determined return on investment, typically provided by Stanford or

Davis, Lopez and Kuhrt reverse-engineered the bank’s financial statements to report investment

income that SIBL did not actually earn. Information in SIBL’s financial statements and annual




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reports to investors about the bank’s investment portfolio bore no relationship to the actual

performance of the bank’s investments. SIBL’s financial statements and annual reports to

investors were prepared, drafted, and approved by Stanford, Davis, Lopez and Kuhrt. Stanford

and Davis then signed these falsified financial statements.

       43.     By the end of 2008, Stanford Financial Group had sold approximately $7.2 billion

worth of SIBL CDs to Plaintiffs and other CD investors by touting: (i) the bank’s safety and

security, including that invested funds were insured; (ii) consistent, double-digit returns on the

bank’s investment portfolio; and (iii) high return rates on the CD that exceeded those offered by

commercial banks in the United States. It was at this time in 2008, in the midst of the worldwide

financial meltdown, that Stanford Financial Group began to crumble.

               f.     Stanford’s House of Cards Finally Collapses

       44.     As alleged by the SEC and the United States Justice Department, Stanford and

Davis — attempting to cover a hole in SIBL’s balance sheet that would cause it to fall below

minimum capital requirements — concocted a bogus $541 million shareholder equity infusion by

manufacturing a series of fraudulent “roundtrip” real estate deals whereby Stanford took a piece

of Antiguan property he purchased for $63 million, transferred it to some entities who “booked”

it at $3.2 billion, and then transferred shares in those entities back to SIBL.

       45.     In October 2008, Stanford Financial Group began suffering liquidity problems

caused by a depositor “run” on SIBL that prevented SIBL from complying with client requests

for funds transfers. SIBL’s CD transaction records indicate that approximately $2 billion in CDs

were redeemed from January 1, 2008 through February 17, 2009. These redemptions and

volatile financial markets had a huge impact on the ability of Stanford Financial Group’s FAs to

keep clients pacified, and on Stanford Financial Group’s ability to keep the Ponzi scheme afloat.




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As a result, the FAs were ordered to continue selling the CDs to bring in new money and to

discourage redemptions.

       46.     In the wake of the Madoff scandal in January 2009, Venezuelan financial analyst

Alex Dalmady, as a favor for a friend, performed an analysis of SIBL’s returns over the years,

taken from SIBL’s publicly available Annual Reports, and then published his findings in a

Venezuelan magazine under the title “Duck Tales.” His findings were then re-published in

various blog postings. Dalmady concluded that Stanford Financial Group was nothing but

another Ponzi scheme — a Ponzi “duck”. The duck (or rather the cat) was out of the bag.

       47.     In the background stood an increasingly skeptical SEC, which had been

investigating Stanford Financial Group for four years. The Madoff scandal renewed the intensity

of the SEC’s expanding investigation. On February 4, 2009, in advance of a deposition before the

SEC, Stanford Financial Group officials met with outside counsel in Miami. Two days later, on

February 6, 2009, Allen Stanford’s old friend Frans Vingerhoedt sent Stanford an email, copying

David Nanes, that illuminated Stanford Financial Group’s crumbling empire:

               [T]hings are starting to unravel quickly on our side in the Caribbean
               and Latin America…[w]e need to come up with a strategy to give
               preference to certain wires to people of influence in certain countries,
               if not we will see a run on the bank next week …[w]e all know what
               that means. There are real bullets out there with my name on [sic],
               David’s name and many others and they are very real…[w]e are all
               in this together.

       48.     On February 17, 2009, the SEC filed a Complaint against SGC, SIBL, and other

entities, as well as against Allen Stanford and Jim Davis, in the U.S. District Court for the Northern

District of Texas. The SEC obtained an injunction to freeze the assets of Stanford Financial Group

and Ralph S. Janvey was appointed to serve as Receiver to liquidate the Stanford Financial Group of

companies. On June 18, 2009, Stanford, Pendergest-Holt, Lopez, Kuhrt and King were indicted on

21 counts, including wire and mail fraud, obstruction of an SEC investigation, and money


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laundering. In August 2009, former Stanford Financial Group CFO Jim Davis pleaded guilty to,

inter alia, securities fraud.

D.      The Findings of this Court

        49.      This Court has already found that the Stanford fraud was a Ponzi scheme. See

Case No. 3:09-CV-0724-N, Doc. 456 at 2 (“The Stanford scheme operated as a classic Ponzi

scheme, paying dividends to early investors with funds brought in from later investors.”); id. at

11 (“[T]he Receiver presents ample evidence that the Stanford scheme . . . was a Ponzi

scheme.”); id. at 13 (“The Court finds that the Stanford enterprise operated as a Ponzi

scheme . . . .”).

        50.      In an opinion filed on December 15, 2010, the Fifth Circuit upheld this Court’s

findings that the Stanford fraud was a Ponzi scheme. See Janvey v. Alguire, 628 F.3d 164, 175

(5th Cir. 2010) (upholding this Court’s Order). In particular, the Fifth Circuit made several

rulings on the nature of the Stanford fraud, as follows:

                 We find that the district court did not err in finding that the
                 Stanford enterprise operated as a Ponzi scheme.

                                          *       *        *

                 The Davis Plea and the Van Tassel Declarations provide sufficient
                 evidence to support a conclusion that there is a substantial
                 likelihood of success on the merits that the Stanford enterprise
                 operated as a Ponzi scheme. . . . The Davis Plea, when read as a
                 whole, provides sufficient evidence for the district court to assume
                 that the Stanford enterprise constituted a Ponzi scheme ab initio.

                                          *       *        *

                 The Receiver carried his burden of proving that he is likely to
                 succeed in his prima facie case by providing sufficient evidence
                 that a Ponzi scheme existed . . . .

                                          *       *        *




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                Here, the Receiver provided evidence of a massive Ponzi scheme .
                . . . The record supports the fact that Stanford, when it entered
                receivership, was grossly undercapitalized.

Id. at *9-13.

E.     BDO’s Knowing Participation in the Stanford Ponzi Scheme

       51.      BDO provided critical services to Stanford Financial Group for over a decade.

For example, BDO audited the annual financial statements of SGC, the Texas-based

broker/dealer and investment advisor that recommended and sold SIBL’s fictitious CDs to

investors. All roads led to SGC, which was the nucleus for Stanford Financial Group’s entire

scheme. BDO also audited the annual financial statements of STC, which served as custodian

and held the fictitious CDs that SGC sold for its investors’ IRA accounts. In addition, BDO

audited the annual financial statements of Stanford Group Holdings (“SGH”), a holding

company for the broker/dealer arm of Stanford Financial Group, including SGC and STC.

Notably, BDO also provided other critical services to SIBL, the unregulated, offshore bank that

purportedly issued the fictitional paper. (Collectively, these clients and BDO’s other Stanford

Financial Group clients, including but not limited to Stanford Capital Management, LLC and

Stanford Coins & Bullion, Inc., are referred to as BDO’s “Stanford Clients”).

       52.       Despite the pervasive fraud that infected Stanford Financial Group’s operations,

BDO repeatedly issued unqualified audit opinions on its Stanford Clients’ annual financial

statements. BDO’s audit opinions on SGC’s financial statements were critical to Stanford

Financial Group’s success. SGC was registered with the SEC and numerous state regulators as a

broker-dealer and investment advisor, so SGC needed BDO’s unqualified audit opinions to

satisfy securities regulators and to continue recommending and brokering the sale of SIBL CDs.

SGC was also a member of the National Association of Securities Dealers, Inc. (NASD), and

was registered with the National Futures Association (NFA) and the Commodity Futures Trading


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Commission (CFTC) as an introducing broker. As BDO’s own Independent Auditor’s Reports

acknowledge, SGC filed its BDO-audited annual financial statements with the SEC pursuant to

Rule 17a-5 of the Securities Exchange Act of 1934 and Section 1.16 of the Commodity

Exchange Act.

                a.    BDO’s Significant Role In Weakening Antigua’s Banking Laws as a
                      Member of the Stanford Task Force

       53.      BDO’s unqualified audit opinions on SGC’s annual financial statements were a

critical link in the Ponzi scheme’s chain, but the most telling of BDO’s services trace back to

SIBL’s infancy in Antigua. As discussed above, when Antigua began to suffer increasing

scrutiny from foreign regulators, Stanford funded and organized the Stanford Task Force to

rewrite Antigua’s banking laws and seize control of its banking regulators. The Task Force not

only succeeded in weakening Antigua’s regulatory regime, it strengthened SIBL’s footing in

Antigua by effectively eliminating SIBL’s Antiguan competitors. More importantly, the Task

Force succeeded in making Allen Stanford Antigua’s de facto offshore banking regulator,

securing a safe haven for the Stanford Ponzi scheme’s exponential growth in the years to come.

       54.      The smashing success of the Stanford Task Force and its misleading regulatory

“reforms” was rooted in its exclusive nine-person membership. Every firm represented on the

Task Force provided crucial services to Stanford Financial Group, and every individual member

of the Task Force was personally appointed by Stanford himself, including three BDO partners:

(i) Jeffrey G. Balmer, a partner in BDO’s West Palm Beach, Florida office and Co-Chair of

BDO’s Florida Practice Financial Services Industry Group; (ii) Keith Ellenburg, an audit partner

in BDO’s Miami, Florida office and member of BDO’s Financial Institutions Industry Group;

and (iii) Barry E. Hersch, another audit partner in BDO’s Miami, Florida office and partner-in-

charge of BDO’s financial institution clients with domestic and international operations.



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Additionally, Michael Ancona, a Managing Senior Associate in BDO’s New York City office

and member of BDO’s Financial Institutions Consulting Group, also served on the Stanford Task

Force. In total, BDO’s partners and associates comprised nearly half of the Stanford Task

Force’s members — more than any other firm represented on the Task Force — and BDO played

a crucial role in helping Stanford Financial Group accomplish its goals.

       55.     A key initiative for the Stanford Task Force — fully known to BDO — was to

amend Antigua’s Money Laundering (Prevention) Act to ensure that “fraud” and “false

accounting” did not fall under the Act’s prescribed list of violations. BDO was charged with

some of the most important responsibilities to complete this initiative, including reviewing and

advising on Antigua’s banking laws, and making recommendations to Antigua’s regulatory

authorities, including procedures for supervising and examining international banks. BDO’s

responsibilities also included working jointly with Antigua’s Special Advisor to the Prime

Minister to: (1) develop an organizational structure for Antigua’s regulatory agency; (2) draft

regulations and procedures for Antigua’s banks; (3) draft procedural manuals and training

programs for the Antiguan government and banking personnel; (4) develop an inspection

program for Antigua’s Minister of Finance; and (5) draft policies and procedures for Antigua’s

supervision of offshore banks.

       56.     The results produced by Stanford’s Task Force — and BDO’s crucial role in

achieving those results — is evidenced by the U.S. government’s prompt response to Antigua’s

new banking laws. In April 1999, shortly after Antigua amended its banking laws to incorporate

the Task Force’s recommendations, the U.S. Department of the Treasury Financial Crimes

Enforcement Network (“FinCEN”) issued an Advisory (the “Advisory”) to warn banks and other

financial institutions that banking transactions involving Antigua should be given enhanced




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scrutiny because the Antiguan government had significantly weakened its banking laws and

regulatory agencies. The nearly unprecedented Advisory, which was only the second notice of

its kind ever issued by the U.S. government, also warned that the Antiguan government had

vested supervisory authority over its offshore financial services sector to a new regulatory

agency, the International Financial Sector Authority (“IFSA”), that was rife with conflicts of

interest because its “board of directors includes representatives of the very institutions the

Authority is supposed to regulate.” According to the Advisory, this “rais[ed] serious concerns

that those representatives are in fact in control of the IFSA, so that the IFSA is neither

independent nor otherwise able to conduct an effective regulatory program in accordance with

international standards.” The Advisory continued,

               The amendment of the Money Laundering (Prevention) Act,
               combined with changes in [Antigua’s] treatment of its offshore
               financial services sector, are likely to erode supervision, stiffen
               bank secrecy, and decrease the possibility for effective
               international law enforcement and judicial cooperation regarding
               assets secreted in [Antigua]. These changes threaten to create a
               ‘haven’ whose existence will undermine international efforts of the
               United States and other nations to counter money laundering and
               other criminal activity, a concern of which the United States has
               repeatedly made the government of [Antigua] aware. The actions
               taken by the government of [Antigua] that weaken that nation’s
               anti-money laundering laws and oversight of its financial
               institutions necessarily raise questions about the purposes of
               transactions routed into or out of [Antigua] or involving entities
               organized or domiciled . . . in [Antigua].

       57.     The brazen conflicts of interest that permeated Antigua’s new IFSA were similar

to the conflicts suffered by BDO and the other members of Stanford’s Task Force. In fact,

BDO’s service on the Task Force completely undermined BDO’s independence from Stanford

Financial Group, and as a result, BDO blatantly violated Generally Accepted Auditing Standards

(“GAAS”) by issuing unqualified audit opinions on its Stanford Clients’ annual financial

statements during the years that BDO served on the Stanford Task Force.


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               b.     BDO Visits Stanford International Bank Ltd. and Ensures the Bank’s
                      Compliance with Antigua’s Newly Weakened Banking Laws

       58.     At the same time that BDO’s partners served on the Task Force, BDO also

traveled to Antigua and performed a Policies and Procedures Review of SIBL’s operations at

Stanford’s personal request. BDO’s review included meetings with a number of SIBL’s bank

personnel during the two-week stay in Antigua. To complete the circle for SIBL and its work on

Stanford’s Task Force, BDO also provided consulting services to Stanford Financial Group in

1999, at Stanford’s personal request, to develop examination programs that ensured SIBL’s

compliance with the new Antiguan laws and regulations that BDO had just weakened.

       59.     As a result of BDO’s participation on the Stanford Task Force, its formal review

of SIBL’s operations, and its consulting services for SIBL, BDO was acutely aware of Stanford

Financial Group’s improper activities. Nevertheless, BDO assisted its Stanford Clients in the

face of a perceived risk that its assistance would facilitate Stanford Financial Group’s violations

of the Texas Securities Act. Furthermore, BDO’s services demonstrate that BDO was aware of

Stanford Financial Group’s breaches of fiduciary duties to Plaintiffs and both Classes of CD

investors, and that BDO was aware of its participation in those breaches of fiduciary duties.

               c.     BDO Violates Its Independence Requirements Under GAAS

       60.     BDO’s numerous audit failures are equally alarming. First, as noted above, BDO

was not independent from Stanford Financial Group in 1997 and 1998 as a result of its

participation on the Stanford Task Force. Therefore, BDO was prohibited from issuing an audit

opinion on any Stanford Client’s annual financial statements during that time. Under GAAS, an

auditor cannot accept an audit engagement or issue an audit opinion on its client’s financial

statements unless it is independent of its client at all times. This mandate requires an auditor to

avoid any relationship with a client that would cause an informed public to doubt the auditor’s



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independence, and requires the auditor to conduct itself in such a manner that an informed public

would have no reason to doubt its independence.

       61.     BDO violated this independence mandate by issuing audit opinions on SGC’s

annual financial statements at the same time that it served on the Stanford Task Force because:

(1) the Task Force was funded, organized, and appointed by Stanford Financial Group’s sole

owner, Allen Stanford, to purposefully weaken the regulatory regime governing Stanford

Financial Group’s lone product, the SIBL CD; and (2) the very basis for SGC’s existence,

purpose, and operations as a broker/dealer and investment adviser was to sell as many SIBL CDs

as possible, and the very basis for STC’s existence, purpose, and operations as a trustee and

custodian was to hold as many SIBL CDs as possible in the IRA accounts of Stanford Financial

Group’s innocent CD investors. BDO’s service on the Stanford Task Force, its failure to follow

professional standards of independence, and its blatant disregard of its conflicts of interest

enabled Stanford Financial Group to sell over $1 billion in unregulated, fictitious SIBL CDs to

SGC’s clients. Under these circumstances, BDO’s conduct demonstrates its complicity in the

Stanford Ponzi scheme.

               d.     BDO Actively Conceals Material Information

       62.     From at least February 2007 forward, BDO’s audit engagement partner, Carlos

Ancira, concealed critical, material information from his own audit engagement team for SGC’s

benefit. Ancira knew that SGC was under increasing scrutiny from the SEC years before the

U.S. government seized Stanford Financial Group in February 2009. Shockingly, however,

Ancira reassured SGC that “[d]ue to the sensitivity of the situation,” no other members of BDO’s

audit engagement team would be told about the SEC’s investigation of SGC for possible

securities fraud.   Furthermore, Ancira permitted SGC’s outside legal counsel to omit any

discussion of the SEC investigation in its audit response letter. Under Statement on Auditing


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Standards No. 99 (“SAS 99”), which was partly issued in response to the Enron, WorldCom, and

Adelphia scandals, auditors must consider potential fraud when auditing a client’s financial

statements. In this case, the SEC’s investigation of SGC triggered heightened scrutiny under

SAS 99, and BDO was required to either: (1) adjust the scope of its audits to address a

heightened risk of fraud at SGC and expand the scope of its audit testing and analysis of internal

controls; or (2) possibly resign from the engagement. Instead, BDO consciously ignored SAS 99

and actively concealed material information from its own audit team “[d]ue to the sensitivity of

the situation.”

        63.       Additionally, BDO helped Stanford Financial Group further conceal this

investigation by permitting SGC to omit any disclosure of that investigation in its annual

financial statements. From at least February 2007 forward, BDO knew what Stanford Financial

Group’s customers did not: the SEC was investigating SGC for very serious allegations of

securities fraud. Yet SGC’s 2007 annual financial statements falsely disclose that SGC was

merely responding to a “routine compliance and operational audit” conducted by the SEC. This

disclosure is patently false.    It does not inform financial statement users that the SEC is

investigating SGC for possible securities fraud. If the SEC’s investigation was sufficiently

material for BDO to conceal that investigation from its own audit team, then certainly it was

sufficiently material to require disclosure in SGC’s annual financial statements in accordance

with applicable securities laws and Generally Accepted Accounting Principles (“GAAP”).

                  e.    BDO Fails to Confirm that Stanford Financial Group Remitted
                        Investor Funds to Purchase SIBL CDs

        64.       For every year that BDO audited SGC’s annual financial statements, BDO further

failed to properly track SGC’s client funds to confirm that those funds were in fact remitted to

SIBL for the purpose of purchasing SIBL CDs. According to the Receiver’s forensic accountant,



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Karyl Van Tassel, “SGC customer funds sent by wire transfer and intended to purchase SIBL

CDs did not go to [SIBL] in Antigua,” but instead were “managed by [Stanford Financial Group

Company] personnel in the U.S.” and then “disbursed by [such] personnel among [Stanford

Financial Group entities], including SGC.” Under GAAS rules governing due professional care,

internal controls, and competent evidentiary matter, among others, BDO was duty bound to track

investor funds obtained by SGC, as the broker/dealer for the SIBL CDs, and confirm that

investor funds intended to purchase SIBL CDs were in fact transferred to SIBL for that purpose.

If BDO met its burden under GAAS to track such funds, then it knew the funds never made it to

SIBL, and therefore knew the funds were not used to purchase any SIBL CDs. On the other

hand, if BDO failed to meet its burden under GAAS and disregarded its obligation to track such

investor funds, then BDO’s conduct constitutes a major audit failure.

               f.    BDO Fails to Properly Modify Its Audit Opinions

       65.     For every year that BDO audited the annual financial statements of any Stanford

Client, BDO continued to issue unqualified audit opinions even though its domestic Stanford

Clients almost never made any money. In 2007 — the last year that audited financial statements

are available — SGH and SGC sustained annual net operating losses of approximately $30

million and $27 million, respectively, and both companies suffered from an accumulated deficit

of approximately $77 million.     Stanford Capital Management, LLC and Stanford Coins &

Bullion, Inc. also suffered from accumulated deficits.

       66.     BDO knew that Stanford had to personally fund millions of dollars in routine

capital infusions to keep these companies afloat. Despite these facts, however, BDO never

sought to verify Stanford’s personal assets or income, never verified the assets or income of

SIBL (the apparent source of Stanford’s supposed wealth), and never verified that Stanford was

contractually obligated to continue funding these companies. Under SAS 59, BDO had to


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consider its Stanford Clients’ ability to continue operations as going concerns, and without any

assurance that Stanford had the means and obligations to continue funding these companies,

BDO was required under SAS 59 to modify its opinions and disclose that there was substantial

doubt about the ability of its Stanford Clients to continue as going concerns. Instead, BDO

repeatedly issued unqualified audit opinions without any such disclosure, evidencing yet another

major audit failure that materially and significantly aided the Stanford Ponzi Scheme.

               g.    BDO Fails to Properly Consider and Apply Consolidation Principles

       67.     BDO also failed to properly consider and apply GAAP guidance governing

consolidation for its Stanford Clients’ 2003 through 2007 annual financial statements. Under

Financial Accounting Standards Board (“FASB”) Interpretation Nos. 46 and 46R (“FIN 46”),

BDO was required to understand Stanford Financial Group’s overall business model and the

relationships between its affiliated entities. The FASB issued FIN 46 in the wake of the Enron

scandal to require auditors to understand the “big picture” by considering the substance of

relationships among related business entities to determine consolidation for financial reporting

purposes. If BDO properly considered and applied FIN 46 when auditing its Stanford Clients,

particularly SGC and STC, then BDO knew that Stanford Financial Group operated as a single

business enterprise whose sole purpose was to sell unregulated, fictitious securities. If, on the

other hand, BDO utterly failed to consider and apply FIN 46 when auditing its Stanford Clients,

then BDO’s willful conduct constitutes another major audit failure.

               h.    BDO Issues Unqualified Audit Opinions Despite its Stanford Clients’
                     Substantial Dependence on an Unregulated, Fictitious Product

       68.     Despite its institutional knowledge of the Stanford Task Force and SIBL’s

unregulated operations in Antigua, BDO issued unqualified audit opinions on its Stanford

Clients’ annual financial statements even though BDO knew that its clients’ operations were



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substantially dependent — if not entirely dependent — upon the continuous sale of unregulated,

fictitious SIBL CDs. To illustrate BDO’s audit failures in this regard, STC generated nearly

70% of its 2007 operating revenues through referral fees earned from SGC’s sales of SIBL CDs.

The Louisiana Office of Financial Institutions (“OFI”) was so alarmed by STC’s dependence

upon the sale of SIBL CDs that in July 2008, the OFI ordered STC to stop increasing the number

or dollar volume of such products in its portfolio.

       69.     SGC’s fate also hinged on selling hundreds of millions of dollars in fictitious

SIBL CDs. Without the income from such sales, SGC would have been insolvent from at least

2004 forward, and likely before. Nevertheless, with knowledge of its clients’ dependence on

SIBL CDs and Stanford Financial Group’s improprieties, BDO continued to issue unqualified

audit opinions on SGC’s and STC’s annual financial statements year after year. In doing so,

BDO enabled Stanford Financial Group to sell unregulated CDs protected by a safe haven that

BDO purposefully helped to create.

               i.     Other Facts Showing BDO’s Support of the Stanford Ponzi Scheme

       70.     Other facts also illustrate BDO’s active cooperation and support of the Stanford

Ponzi scheme. When Stanford Financial Group’s counsel solicited international accounting firm

KPMG to accept Stanford’s two Caribbean airlines as new clients in April 2005, KPMG

summarily rejected his proposal on risk-management grounds. When responding to KPMG’s

due diligence requests, he informed KPMG that Stanford Financial Group’s approximately 65

entities, including SIBL and its $4 billion in assets, were directly owned by a single person,

Allen Stanford. His subsequent offer to meet “off-the-record and informally” with KPMG’s

personnel and discuss the negative “rumor[s] and innuendo[s]” about his client apparently were

not enough to persuade KPMG to accept Stanford Financial Group’s airlines as clients. In




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contrast, BDO promptly accepted the two airlines as clients and audited their annual financial

statements for at least 2001 through 2005.

        71.     BDO’s unqualified audit opinions for its Stanford Clients’ annual financial

statements, combined with BDO’s service on the Stanford Task Force, its institutional

knowledge of SIBL’s unregulated operations in Antigua, its concealment of material

information, its major audit failures, and its other suspicious acts, demonstrate that BDO was

generally aware of Stanford Financial Group’s improper activities, and that BDO assisted its

Stanford Clients in the face of a perceived risk that its assistance would facilitate Stanford

Financial Group’s violations of the Texas Securities Act.        Furthermore, BDO’s activities

demonstrate that BDO was aware of Stanford Financial Group’s breaches of fiduciary duties to

Plaintiffs and both Classes, and that BDO was aware of its participation in those breaches of

fiduciary duties.

F.      BDO Failed in its Role as the Public Watchdog

        72.     As the United States Supreme Court stated in United States v. Arthur Young &

Co., 465 U.S. 805, 817-18 (1984), independent auditors serve as a public watchdog to protect the

public’s interests:

                By certifying the public reports that collectively depict a
                corporation’s financial status, the independent auditor assumes a
                public responsibility transcending any employment relationship
                with the client. The independent public accountant performing this
                special function owes ultimate allegiance to the corporation’s
                creditors and stockholders, as well as to investing public. This
                ‘public watchdog’ function demands that the accountant maintain
                total independence from the client at all times and requires
                complete fidelity to the public trust.

The Arthur Young opinion is clear that only independent accountants may bear this ultimate

responsibility to a company’s creditors, stockholders, and the investing public. Independence is

the gatekeeper. Without it, accountants cannot even serve as a public watchdog.


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       73.     BDO utterly failed to fulfill its obligations as the public watchdog for Stanford

Financial Group, and because of this failure, tens of thousands of innocent CD investors lost

billions of dollars. BDO issued unqualified audit opinions for Stanford Financial Group when it

was explicitly prohibited from even serving as a public watchdog, and in doing so, BDO

consciously circumvented the professional obligations of independence that it owed to Stanford

Financial Group’s innocent CD investors. Moreover, in the years that BDO was not explicitly

prohibited from serving as the public watchdog, the circumstances under which BDO issued its

unqualified audit opinions demonstrate a conscious betrayal of the public trust.

       74.     Stanford Financial Group, aided by BDO’s services, issued approximately $7.2

billion in sham CDs to investors. Shockingly, however, precious little of the CD investors’

money ever made it to SIBL. Instead, Stanford Financial Group diverted and distributed the

investor funds among its various domestic entities, including SGC, and BDO’s other Stanford

Clients. Despite the sheer size and volume of Stanford’s simple shell game, BDO consciously

failed to lift the veil on Stanford Financial Group’s fictitious operations.

       75.     BDO’s cozy relationship with Stanford Financial Group was steeped in conflicts

of interest and required ongoing deceptive and duplicitous manipulation of the facts to enable the

Ponzi scheme’s exponential growth for over a decade. The result of this deception is the loss of

thousands of investors’ life savings. While many of the so-called professionals that provided

services to Stanford Financial Group were integral to the ongoing fraud, BDO’s audit and other

services for Stanford Financial Group’s most critical businesses was the glue that held the

scheme together. If BDO had exercised even a minimum level of the independence, inquiry, and

professional skepticism required of independent auditors, then it would have revealed the

ongoing fraud many years ago.




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               V.    PLAINTIFFS’ AND CLASSES OF INVESTORS’ CLAIMS

A.     Basis for Claims

       76.     Plaintiffs and all members of both Classes invested in the Stanford Ponzi scheme by

purchasing SIBL CDs or placing their money in other depository accounts with SIBL. Over the

years that Plaintiffs and the Classes purchased and maintained investments in SIBL, Plaintiffs and the

Classes were repeatedly and uniformly told, either directly by Stanford Financial Group’s FAs or

other employees or agents (who were uniformly trained to make these statements) or via Stanford

Financial Group’s promotional materials, that, inter alia: (1) an investment in SIBL was safer than

investing in U.S. banks because SIBL did not make loans but instead invested in a portfolio focused

on safe and highly liquid instruments; (2) the assets held in SIBL’s investment portfolio were more

than sufficient to cover any and all CD liabilities; (3) SIBL was fully and adequately regulated by the

Antiguan FSRC; and (4) that an investment in SIBL was completely safe and secure because it was

guaranteed and insured by Lloyd’s of London, was audited by an “outside” audit firm, and subjected

to regular, “stringent” risk management examinations. All of these representations were false.

       77.     During the time that Plaintiffs and both Classes purchased and maintained

investments in SIBL, Stanford Financial Group sales representatives and promotional materials

repeatedly and uniformly omitted to inform Plaintiffs and both Classes that, inter alia: (1) SIBL was

not regulated by the U.S. or any other government; (2) Plaintiffs’ and the respective Classes’

members’ investments in SIBL were not insured; (3) no one knew where Stanford Financial Group

was investing the investors’ CDs or deposits or what assets comprised the SIBL portfolio; (4)

Stanford Financial Group was operating illegally as an unregistered investment company (whose

contracts were thus void under § 47 of the Investment Company Act) that was soliciting and selling

unregistered securities by, from, and through Houston, Texas; (5) SIBL was not invested in safe,

secure, and liquid instruments, but was either stealing its clients’ money outright or investing it in


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speculative Caribbean real estate ventures; (6) SIBL was not adequately regulated by the FSRC or

any other entity and was audited by a one man “mom and pop” audit shop under the control of Allen

Stanford; (7) Stanford Financial Group issued personal loans to Allen Stanford using the funds from

Plaintiffs’ and both Classes’ members’ investments in the SIBL CDs; and (8) Stanford Financial

Group was being investigated by the SEC for possible securities fraud from 2005 until the U.S.

government finally seized Stanford Financial Group’s operations in February 2009.

       78.     Based on the representations and omissions of material fact made to Plaintiffs and

both Classes repeatedly and uniformly over the years — both in person by Stanford Financial

Group’s FAs, employees, or agents, and via the promotional materials created by Stanford Financial

Group — Plaintiffs and the respective Classes’ members decided to invest money in, and maintain

investments in, the SIBL CDs.

       79.     Plaintiff Philip Wilkinson invested a substantial portion of his retirement savings

with SGC and STC in early June 2007. At that time, Wilkinson met with an SGC investment

adviser at the Houston office of SGC, who advised him of the safety and security of an

investment in SIBL CDs. Following Stanford Financial Group’s indoctrinated script, the SGC

advisor made several uniform and standardized misrepresentations to Wilkinson, including that:

(1) SIBL was “safer than a U.S. Bank” because it had Lloyds of London bonded insurance; (2)

SIBL was safe because it did not make loans like a regular bank; but instead (3) invested in a

portfolio of highly liquid assets, such that the CDs could be redeemed on just a few days notice.

Based on those and Stanford Financial Group’s other uniform and standardized sales

misrepresentations and omissions of material facts, Wilkinson decided to open an IRA account

with STC (Account No. STSGC40958), and following the advice of his SGC investment adviser,

Wilkinson decided to invest a substantial portion of his retirement savings, $500,000, into SIBL




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CDs. Wilkinson mailed his $500,000 check for the SIBL CDs directly to STC’s bank, Hancock

Bank, on June 13, 2007.

       80.     In early 2007, Plaintiff Pam Reed and her husband, Bob Gibbins, were convinced

by their Austin-based financial adviser to relocate their investments from Smith Barney to

Stanford Financial Group when their financial adviser joined SGC. In April 2007, after their

financial adviser joined SGC, Gibbins and Reed moved their investment portfolio from Smith

Barney to SGC.

       81.     Gibbins’s and Reed’s FA then convinced them to invest their money in SIBL

CDs. On May 11, 2007, Gibbins and Reed invested $2,416,958.01 with SGC, and following the

advice of their FA, purchased one SIBL “Fixed CD” in the amount of £160,104.07 (SIBL

Account No. 304808) and another SIBL “Fixed CD” in the amount of $2,156,286.10 (SIBL

Account No. 168069). Both CDs were issued in the name of Gibbins and Reed jointly, and had a

one-year term maturing in May 2008.

       82.     In convincing Reed to buy the SIBL CDs, the FA told Reed (and Gibbins) that the

SIBL CDs were low risk, liquid instruments like any regular U.S. bank CD, and that the SIBL

CDs were insured by the FDIC and SIPC. The FA also told Reed (and Gibbins) that SIBL was

part of SGC, and that SGC was a licensed broker/dealer just like Smith Barney.

       83.     In February 2008, before their CDs matured, the FA invited Gibbins and Reed to

visit SIBL in Antigua. Reed met with Allen Stanford and SIBL’s President, Juan Rodriguez

Tolentino, who provided Reed with a tour of SIBL and once again assured Reed that SIBL’s

CDs were an entirely safe and liquid product.

       84.     Upon their return from Antigua, the FA sought to convince Gibbins and Reed to

roll over and reinvest their SIBL CD proceeds into new SIBL CDs when the CDs matured in




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May 2008. During these discussions near the end of April or early May 2008, the FA: (1)

reaffirmed the safety, security, and low risk of the SIBL CDs; (2) reiterated that the SIBL CDs

were insured against loss; and (3) represented that the SIBL CDs were completely backed by

SIBL’s assets, which had been audited by an international audit firm.

        85.     In May 2008, as a result of their FA’s misrepresentations about the safety and low

risk of the SIBL CDs, Gibbins and Reed rolled over and reinvested the proceeds from their

maturing SIBL CDs to purchase new SIBL CDs. The new SIBL CDs were also issued in their

names jointly, and Reed invested an additional $300,000 into SIBL CDs.

B.      Class Action Allegations

        86.     Plaintiffs and the First Class (defined below), and if necessary, the Second Class

(defined below), request this case be certified as a class action pursuant to FED. R. CIV. P. 23.

The number of affected investors are so numerous that joinder of all members is impracticable.

For example, the Texas-resident members of both Classes alone number 1,300 investors and

account for $581 million in investment losses. There are common questions of law and fact that

are common to the members of the First Class, and common questions of law and fact that are

common to the members of the Second Class, and these common questions predominate over

individual issues. The named Plaintiffs’ claims are typical of both Classes’ claims. The named

Plaintiffs have no interest adverse to the interests of other members of the two Classes. The

named Plaintiffs will fairly and adequately protect both Classes’ interests. The named Plaintiffs

have retained counsel experienced and competent in the prosecution of class action and complex

international securities litigation.

        87.     Pursuant to FED. R. CIV. P. 23(a) and (b)(3), the Court should certify the First

Class (defined below) and, if necessary, the Second Class (defined below).




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               a.     The Court should certify a class of all investors (the “First Class”) who, as

       of February 17, 2009, had purchased and still held SIBL CDs and/or otherwise

       maintained deposit accounts with SIBL, excluding: (1) BDO, its employees and agents;

       and (2) any officer, director, employee, or promoter of Stanford Financial Group,

       including SIBL, SGC, SFIS, or STC, as those entities have been defined herein.

               b.     If necessary, the Court should also certify a class of investors (the “Second

       Class”) who were clients or customers of SGC, STC, or SFIS, and as of February 17,

       2009, had purchased and still held SIBL CDs and/or otherwise maintained deposit

       accounts with SIBL, excluding: (1) BDO, its employees and agents; and (2) any officer,

       director, employee, or promoter of Stanford Financial Group, including SIBL, SGC,

       SFIS, or STC, as those entities have been defined herein.

       88.     The court should certify the First Class, and if necessary, the Second Class,

pursuant to FED. R. CIV. P. 23(b)(3) because questions of law or fact common to the members of

both Classes predominate over any questions affecting only the individual members, and a class

action is superior to the other available methods for the fair and efficient adjudication of the

controversy. Indeed, this is a case of “fraud created the market” and fraud on the regulators

because Stanford’s Ponzi scheme could not have existed or flourished were it not for the fraud

that the Stanford Financial Group committed on regulators around the world and the fraud that

the Stanford Financial Group committed by misleading investors regarding their investments in

SIBL CDs or deposits with SIBL. Named Plaintiffs and both Classes relied on the integrity of

the market in deciding to invest in SIBL CDs. Many investors who are class members have

amounts invested that are too small to justify the cost and expense of individual litigation and

can only be assisted by a class action mechanism.




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C.     Discovery Rule/Inquiry Notice

       89.      The SEC filed an action against Allen Stanford and SIBL et al. on February 17,

2009, and on or about that same day the Court appointed the Receiver. Plaintiffs did not

discover, and could not with the exercise of reasonable diligence have discovered, the true nature

of the injury caused by Stanford Financial Group, SIBL, SGC, STC, or BDO until after that date.

Moreover, the wrongful acts and conspiracy by BDO was inherently undiscoverable, and

Plaintiffs were not aware of facts that would have put them on inquiry notice as to BDO’s role in

Stanford’s fraud until now.

          VI.       CAUSES OF ACTION FOR PLAINTIFFS AND BOTH CLASSES

                     (The Following Causes of Action are Plead on Behalf of
                the Named Plaintiffs Individually, and on Behalf of Both Classes)

COUNT 1:        Aiding and Abetting Violations of the Texas Securities Act

                              A. SALES OF UNREGISTERED SECURITIES

       90.      BDO is liable as an “aider” for sales of unregistered securities to Plaintiffs and

both Classes. In particular, by its actions described herein, BDO provided substantial assistance

to Stanford Financial Group, including SGC, STC, and SIBL, and made it possible for Stanford

Financial Group to effectuate the sale of SIBL CDs to Plaintiffs and members of both Classes,

and materially aided Stanford Financial Group to sell unregistered securities to Plaintiffs and

members of both Classes from and through Texas. The SIBL CDs offered and sold by Stanford

Financial Group and SIBL, with BDO’s participation, constitute “securities” under the relevant

securities law jurisprudence, primarily the Reves test, precisely because the SIBL CDs were not

insured by the FDIC, nor guaranteed by any similar government regulatory insurance regime.

By assisting Stanford Financial Group’s sales of these securities products, BDO acted recklessly

and knew or should have known, and was willfully blind to the fact that said sales were illegal.



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But for BDO’s participation, Stanford Financial Group could not have sold unregistered

securities to Plaintiffs and both Classes’ members from and through Texas.

       91.     BDO was generally aware that it was assisting in the sale of unregistered

securities from and through Texas. BDO knew that Stanford Financial Group and SGC were

based in Texas, that the primary purpose of SGC was to sell the SIBL CDs, and that the primary

purpose behind STC, which was controlled by SGC in Texas, was its use by SGC as a vehicle to

get IRA accounts invested in SIBL CDs. Furthermore, BDO knew that the entire purpose of

every entity within the Stanford Financial Group of companies was to market, promote, and/or

sell the SIBL CDs. BDO also knew that SIBL did not function as a regular bank making loans,

but rather invested the CD proceeds in a private investment portfolio. Furthermore, BDO knew

that the SIBL CDs had not been registered as securities with the SEC or Texas State Securities

Board, because BDO reviewed the SIBL offering and disclosure statements and knew that SIBL

had filed for a limited Reg. D exemption for certain “accredited” U.S. investors only. Based on

its knowledge of the Stanford Task Force and SIBL, the size of the CD offerings made by SGC,

what SIBL was allegedly doing with investors’ money, and Stanford Financial Group’s

operations, BDO also knew that the Reg. D exemption did not apply and that Stanford Financial

Group was operating as an unregistered hedge fund in violation of the Investment Company Act,

selling unregistered investment company securities.

       92.     In assisting a Houston-based enterprise in the sale of unregistered securities, BDO

was subjectively conscious of and willfully blind to a risk of illegality, and BDO assisted its

Stanford Clients in the face of a perceived risk that its assistance would facilitate Stanford

Financial Group’s violations of the Texas Securities Act. None of the SIBL CDs sold to

Plaintiffs and both Classes were ever registered with the Texas State Securities Board and




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therefore were sold to Plaintiffs and both Classes as unregistered securities in violation of the

Texas Securities Act. In assisting Stanford Financial Group, including SGC, STC, and SIBL, to

effectuate the sale of the unregistered securities from and through Texas, BDO acted

intentionally or with reckless disregard for the truth and the law. As a result of BDO’s conduct

in materially aiding SGC, STC, and SIBL to sell unregistered securities from and through Texas,

Plaintiffs and both Classes have lost their investments and are entitled to the statutory remedy of

rescission. In the alternative, BDO’s violations of the Texas Securities Act are a proximate

cause of actual damages to Plaintiffs and both Classes, measured as the difference between their

investments as stated in their last account statements and the amounts that Plaintiffs and both

Classes may receive from the receivership distribution.

        93.     Moreover, and despite SGC’s, STC’s, and SIBL’s scheme to evade compliance

with the Texas Securities Act by claiming a Reg. D exemption, the global offering of CDs by

Houston-based Stanford Financial Group to “accredited” U.S. investors was in fact an

unregistered public offering made in violation of Article 581 of the Texas Securities Act. It was

an integrated offering under Texas securities laws, and, on information and belief, involved each

of the following factors that made it a public offering and not a private offering exempt from

registration:

                a.    The integrated offering involved general solicitation. This general

        solicitation by Stanford Financial Group through SGC, STC, SFIS, and its U.S. affiliates,

        agents and brokers, as well as through foreign financial advisors, included general public

        advertisements,   publicly   distributed     magazine   articles,   television   and   other

        communications, and media published in print in Houston, Texas and distributed broadly




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       for general distribution in the United States and abroad to offerees and purchasers of the

       CDs.

               b.     The integrated offering involved general solicitation through television

       advertisements, including advertisements broadcast in Texas, Louisiana and Florida, of

       Stanford Financial Group’s products, including the SIBL CDs.

               c.     The integrated offering involved seminars and meetings conducted in the

       United States (including Texas, Louisiana, and Florida), Mexico, and Venezuela and

       elsewhere in Latin America. The integrated offering was conducted through the use of

       sales seminars, “road shows,” and meetings directed at potential offerees and purchasers.

               d.     The integrated offering involved offers to tens of thousands of offerees

       and purchases by thousands of offerees involving sums of money, in the billions of

       dollars, far in excess of that disclosed to the SEC in SIBL’s Form D filing with the SEC.

       The integrated offering involved offers to, and purchases by, at least thousands of Texas,

       Louisiana, and Florida residents or those otherwise subject to Texas, Louisiana, or

       Florida law, as well as offers and sales to Mexican and Venezuelan residents in the Texas

       and Florida offices of Stanford Financial Group and/or SFIS.

               e.     The aggregate size of the sales of SIBL CDs during this period was

       approximately $7.2 billion. The aggregate size of the sales in the United States during

       this period was in excess of $2.2 billion. The number of investors purchasing the SIBL

       CDs in the U.S. under the Reg. D filing was far in excess of 1,000, and over 1,000 IRA

       accounts at STC were invested in the SIBL CDs.

               f.     The offering was made to investors with whom Stanford Financial Group,

       including SGC, had no pre-existing relationship, through brokers or affiliates of Stanford




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       Financial Group who were paid substantial and excessive undisclosed commissions in

       connection with the SIBL CDs.

               g.     The offering was made to U.S. citizens who did not qualify as “accredited

       investors,” and far more than 35 persons who did not qualify as “accredited investors”

       purchased the SIBL CDs; indeed the vast majority, at least $5 billion of the CDs, were

       sold to foreign citizens that did not qualify as “accredited investors,” and many of these

       foreign citizens purchased the SIBL CDs from registered representatives of a

       broker/dealer who effected the transactions through the offices of Stanford Financial

       Group and SFIS in Miami, Florida, Houston, Texas, and San Antonio, Texas.

                      B. SALES OF SECURITIES BY UNREGISTERED DEALERS

       94.     BDO aided and abetted SIBL, SGC, STC, and Stanford Financial Group generally

in the sale of securities to Plaintiffs and both Classes from and through the State of Texas

without being registered as a dealer, in violation of Sections 12(A), 33(A)(1), and 33(F)(2) of the

Texas Securities Act. Specifically, and as alleged herein, BDO knew or should have known that

the global conglomeration of entities known collectively as “Stanford Financial Group” was

acting as a hedge fund without being registered as such under the Investment Company Act, and

that the hedge fund was illegally disguising itself as a bank (SIBL) and issuing hedge fund

shares, disguised as CDs, to the general public from, by and through Texas and then Stanford

Financial Group pooled its customers’ money together to make illiquid, speculative investments.

The Stanford Financial Group “fund” made these sales without registering with the Texas State

Securities Board as a dealer under Section 12(A).

       95.     BDO intentionally and actively aided and abetted the Stanford Financial Group

“fund” to sell securities from and through Texas, by means of the conduct described herein. With




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full knowledge or willful blindness to the fact that Stanford Financial Group was, directly or

through its web of companies, including SIBL, acting as an unregistered investment company

“fund” in Texas selling “fund” securities from and through Texas, and that Stanford Financial

Group, including SIBL, was being operated and “run” from Texas, BDO aided and abetted,

materially and substantially assisted, and perpetuated Stanford Financial Group’s, SGC’s, and

SIBL’s violations of the Texas Securities Act by continuing to provide the services described

herein to help effectuate sales of the worthless CDs and fund the Ponzi scheme.

       96.     BDO was generally aware of and willfully blind to the fact that it was assisting

the sales by an unregistered “fund” of unregistered “fund” securities from and through Texas. In

assisting the sale of unregistered “fund” securities through a Houston-based enterprise, BDO was

subjectively conscious of a risk of illegality, and BDO assisted its Stanford Clients in the face of

a perceived risk that its assistance would facilitate Stanford Financial Group’s violations of the

Texas Securities Act. In performing the acts described herein to aid and abet the sale of

securities in Texas by an unregistered dealer, BDO acted with the intent to perpetuate the sale of

securities by an unregistered dealer, or acted with reckless disregard for the truth or the law. As

a result of BDO’s conduct in aiding and abetting the sale of securities in Texas by unregistered

securities dealers, Plaintiffs and both Classes have lost their investments and are entitled to the

statutory remedy of rescission. In the alternative, BDO’s violations of the Texas Securities Act

are a proximate cause of actual damages to Plaintiffs and both Classes, measured as the

difference between their investments in SIBL as stated in their last account statements and the

amounts that Plaintiffs and both Classes may receive from the receivership distribution.




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                                  C.     UNTRUTH OR OMISSION

       97.     BDO, acting with intent to deceive or with reckless disregard for the truth or the

law, materially and substantially aided Stanford Financial Group, including SGC, STC, and

SIBL and their principals, in the sale of uncovered securities (the SIBL CDs) through the use of

untrue representations or materially misleading omissions, and also aided and abetted the

fraudulent practices of registered investment advisers in violation of the Texas Securities Act. In

particular, and as set forth in the Davis Plea, Stanford Financial Group was a massive Ponzi

scheme that was perpetuated by the continued sales of SIBL CDs to unsuspecting investors like

Plaintiffs and both Classes. Stanford Financial Group led Plaintiffs and both Classes, verbally

and through written marketing materials prepared and disseminated via Stanford Financial

Group’s Houston office, to believe that their money was being invested in safe, liquid

investments that were insured, which was a material misstatement because the money was not

invested in safe, liquid and fully insured investments, but rather was pooled together with other

investors’ money and used to finance Stanford Financial Group’s principals’ lavish lifestyles and

to invest in long-term, illiquid and high-risk investments including real estate development

projects in Antigua and elsewhere in the Caribbean.         Moreover, Stanford Financial Group

omitted to inform Plaintiffs and both Classes that it was selling them unregistered securities, that

it was operating as an unregistered, uninsured, illegal investment company “fund” in violation of

the Investment Company Act and the Texas Securities Act, and that it was being investigated by

the SEC for possible securities fraud from 2005 until the U.S. government finally seized Stanford

Financial Group’s operations in February 2009.

       98.     BDO was generally aware of and willfully blind to the fact that it was involved in

improper activity and that it was assisting the sale of unregistered securities from and through




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Texas. With knowledge that SGC and STC were misleading investors about the nature and risk

of investments in related-party bank SIBL, and with reckless disregard for the truth and the law,

BDO provided substantial assistance to Stanford Financial Group, including SGC, STC, and

SIBL, in effecting over $7.2 billion worth of SIBL CD purchase transactions as described herein,

and thereby materially aided the Stanford Financial Group entities’ sales of securities through the

use of untruths and materially misleading omissions. BDO was subjectively aware of, and

absolutely indifferent to, the risk posed by its conduct. In assisting the sale of unregistered

securities through a Houston-based enterprise, BDO was subjectively conscious of a risk of

illegality, and BDO assisted its Stanford Clients in the face of a perceived risk that its assistance

would facilitate Stanford Financial Group’s violations of the Texas Securities Act. In short,

BDO’s actions as described herein allowed Stanford Financial Group, including SGC, STC, and

SIBL, to continue to sell securities to Plaintiffs and both Classes from and through Texas using

untruths and materially misleading omissions.

       99.     As a result of BDO’s conduct in aiding and abetting the sale of securities from, by

and through Texas using untruths and materially misleading omissions, Plaintiffs and both

Classes have lost their investments and are entitled to the statutory remedy of rescission. In the

alternative, BDO’s violations of the Texas Securities Act are a proximate cause of actual

damages to Plaintiffs and both Classes, measured as the difference between their investments in

SIBL as stated in their last account statements and the amounts that Plaintiffs and both Classes

may receive from the receivership distribution.

                                 D. CO-CONSPIRATOR LIABILITY

       100.    BDO is jointly and severally liable as a co-conspirator for Stanford Financial

Group’s, including SGC’s, STC’s, and SIBL’s, primary violations of the Texas Securities Act.




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In particular, BDO knowingly conspired and combined together with others at Stanford Financial

Group to assist Stanford Financial Group to sell unregistered securities to Plaintiffs and both

Classes using untrue representations or materially misleading omissions, as described herein.

BDO took various overt acts designed to assist Stanford Financial Group to accomplish the goal

of selling CDs from and through the State of Texas and operate as an unregistered securities

dealer selling unregistered securities from Texas. BDO’s conspiracy with Stanford Financial

Group to violate the Texas Securities Act is a proximate cause of rescission and/or actual

damages to Plaintiffs and both Classes, measured as the difference between their investments in

SIBL as stated in their last account statements and the amounts that Plaintiffs and both Classes

may receive from the Receivership distribution.

COUNT 2:       Participation in/Aiding and Abetting Breach of Fiduciary Duty

       101.    As a registered investment adviser, SGC owed a fiduciary duty to Plaintiffs and

both Classes as a matter of law. As a fiduciary trust company holding IRA accounts, STC also

owed fiduciary duties to Plaintiff Philip Wilkinson and the Second Class. As a fiduciary trust

company or representative of a fiduciary trust company, SFIS also owed fiduciary duties to

Plaintiffs and both Classes.

       102.    SGC, STC, and SFIS breached their respective fiduciary duties to Plaintiffs and

both Classes by advising them to invest their money in the SIBL CDs, because such investments

were entirely imprudent and unsuitable for any investor and because SGC, STC, and SFIS were

financially incentivized to recommend the related-party SIBL CDs above other investment

products. SGC, STC, and SFIS did not have the basic financial information regarding the SIBL

CD investments necessary to make such investment recommendations to Plaintiffs and both

Classes, but instead made the recommendations to purchase the SIBL CDs based on the huge,

above-market commissions that SGC, STC, and SFIS were paid by SIBL to promote the CDs.


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       103.    BDO knew that SGC, STC, and SFIS owed fiduciary duties to Plaintiffs and both

Classes, and BDO was aware that SGC, STC, and SFIS were breaching these fiduciary duties, as

described herein. BDO was also aware that it was aiding, abetting, and otherwise participating in

SGC’s, STC’s, and SFIS’s breaches of those duties by the conduct alleged herein. The breaches

of fiduciary duties by SGC, STC, and SFIS, and BDO’s awareness of its participation in such

breaches, were a proximate cause of actual damages to Plaintiffs and both Classes. BDO knew

or should have known that its aiding, abetting, and participation in the breaches of fiduciary

duties set out above likely would result in extraordinary harm to Plaintiffs and both Classes.

Accordingly, Plaintiffs and both Classes are entitled to recover exemplary damages in excess of

the minimum jurisdictional limits of this court.

COUNT 3:       AIDING AND ABETTING/PARTICIPATION IN A FRAUDULENT SCHEME

       104.    By its conduct described herein, BDO aided, abetted, and participated with

Stanford Financial Group, including SGC, STC, and SFIS, in a fraudulent scheme, making BDO

directly liable for fraud. In particular, BDO assisted and enabled Stanford Financial Group,

including SGC, STC, and SFIS, in its sales of SIBL CDs to Plaintiffs and both Classes through

its services for SIBL, including the Stanford Task Force, and issuing unqualified audit opinions

on SGC’s and STC’s annual financial statements. Such actions by BDO in combination with

Stanford Financial Group are a proximate cause of actual damages to Plaintiffs and both Classes,

measured as the difference between their investments in Stanford Financial Group as stated in

their last account statements and the amounts that Plaintiffs and both Classes may receive from

the Receivership distribution.

COUNT 4:       CIVIL CONSPIRACY

       105.    BDO conspired with other employees and agents of Stanford Financial Group,

including SGC, STC, SFIS, and SIBL, to commit the wrongful conduct described herein,


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including breach of fiduciary duty, violations of the Texas Securities Act, and fraud. BDO is

responsible for all wrongdoing done by each and the other members of the conspiracy, including

Allen Stanford, Jim Davis, Mauricio Alvarado, SIBL’s president Juan Rodriguez Tolentino,

SGC’s president Danny Bogar, Leroy King, and others, in furtherance of the unlawful conspiracy

and enterprise.

       106.       Together with other employees and agents of Stanford Financial Group, including

SGC, STC, SFIS, and SIBL, BDO joined in a conspiracy (which began in 1997 and continued to

February 2009) to assist Stanford Financial Group in its sales of SIBL CDs, including SGC’s and

SFIS’s sales of SIBL CDs and STC’s custody of such CDs, purchased and held by Plaintiffs and

both Classes, and to help Stanford Financial Group hide its activities from regulatory scrutiny.

The central object of the ongoing conspiracy was to enable Stanford Financial Group’s sales of

the SIBL CDs, including SGC’s and SFIS’s sales of SIBL CDs and STC’s custody of such CDs,

purchased by Plaintiffs and both Classes. There was a meeting of the minds at various times

described herein as the various members of the conspiracy joined the conspiracy, as to the central

objective described above, and a meeting of the minds between BDO and others as to the means

for executing the scheme.

       107.       During all relevant times, BDO, in furtherance of the conspiracy and/or aiding or

abetting the employees and agents of Stanford Financial Group, including SGC, STC, SFIS, and

SIBL, in furtherance of the common enterprise, engaged in specific overt acts as described

herein. BDO’s conduct was part of a continuing activity that was essential to, and therefore in

furtherance of, the survival of the Stanford Ponzi scheme, which was an ongoing operation as to

SIBL and SGC when BDO joined the conspiracy in 1997, and an ongoing operation as to STC

and SFIS beginning in 1998. The conspirators’ concealment and frustration of investigatory




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efforts by the SEC, the Louisiana OFI, and/or other regulatory agencies in a highly regulated

environment such as securities was central to the success and longevity of the overall Stanford

Ponzi scheme conspiracy. The Stanford Ponzi scheme proximately caused Plaintiffs and both

Classes to lose their investments, and BDO, by joining in conduct designed to assist and

facilitate Stanford Financial Group’s illicit conduct, is jointly and severally liable with Stanford

Financial Group, including SGC, STC, SFIS, and SIBL, for all of Plaintiffs’ and both Classes’

losses.

                 VII. JOINT ENTERPRISE/SINGLE BUSINESS ENTERPRISE

          108.   A joint enterprise or single business enterprise (at least for jurisdictional

purposes) existed between BDO International and the various Member Firms within BDO

International that provided services to Stanford Financial Group. BDO International and the

various Member Firms within BDO International operate as a joint enterprise or single business

enterprise. All the Member Firms within BDO International centrally report and share resources

and allocate costs across business segments as opposed to individual Member Firm lines. There

was an express or implied agreement between BDO International, the Member Firms within

BDO International, and their respective principals concerning the establishment and

administration of the joint enterprise/single business enterprise; a common purpose to be carried

out by these various entities and their respective principals, including reaping fees and profits

from the illicit activities of the joint enterprise/single business enterprise; a community of

pecuniary interest among these various entities and their respective principals; and sharing in the

management and direction of the joint enterprise/single business enterprise by these various

entities and their respective principals. Indeed, BDO USA’s engagement letters with Stanford

Financial Group state that BDO USA may assign its rights to perform services for Stanford

Financial Group to any of BDO International’s Member Firms without Stanford Financial


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Group’s prior consent. Moreover, BDO International’s Member Firms in the United States,

Ecuador, Peru, Mexico, and Spain worked in concert and under the control of BDO International

and BDO USA to provide audit, tax, consulting, or other professional services to Stanford

Financial Group. Thus, a joint enterprise or single business enterprise existed between and

among BDO International, the Member Firms within BDO International, and their respective

principals. Therefore, BDO International, the Member Firms within BDO International, and

their respective principals are jointly and severally liable for the fraudulent acts described herein.

                                         VIII. ALTER EGO

        109.    BDO International is directly liable for the acts and omissions of BDO USA as

described herein because BDO USA is the alter ego of BDO International, and a conduit through

which BDO International conducted its business, including participation in the Stanford Ponzi

Schemes as described herein. Specifically, BDO International owns, controls, and/or dominates

BDO USA to such an extent that BDO USA has no separate interests of its own and in reality

functions as a mere division, instrumentality, or branch of BDO International. Indeed, BDO

International and all its Member Firms, including BDO USA, operate as a single, unified

worldwide business unit or single business enterprise, all operating under the BDO International

brand, international trademark, trade name, and logo. BDO International controls the manner in

which its Member Firms, such as BDO USA, are perceived by the public, including controlling

the Member Firms’ use of the BDO International brand name, and therefore BDO International

intentionally creates the impression in the minds of third parties that BDO International is one

unified, global entity that acts as a single unit.

        110.    BDO International’s own website touts BDO’s unified, global services, including

BDO’s: (i) “seamless service worldwide;” (ii) “continued [efforts] to build [its] international

capabilities;” (iii) provision of services “to [BDO] clients in 119 countries;” (iv) “establish[ment]


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[of] a worldwide structure” in 1988, and consistent use of the BDO acronym for each Member

Firm, which “together with the introduction of a new logo and a consistent global brand, clearly

demonstrate[s] that the local expertise of [BDO International’s Member Firms] [is] combined

with the international expertise and strength of [BDO’s] international network;” (v) “move to a

single global trading name” of “simply BDO” in 2009 to “demonstrate[] [BDO’s] commitment

to service [its] clients and to compete successfully in [its] market on a multinational basis;” (vi)

“easily shared [expertise] across [BDO’s] network;” and (vii) “ambition to significantly increase

our market share and ensure that we are recognised in the market as a unified global network.”

As part of its global branding strategy, BDO International and the Member Firms within BDO

International operate as a single economic unit. For all effective purposes, and certainly for

purposes of this lawsuit, BDO International and the Member Firms within BDO International are

one and the same because that is the perception that BDO International seeks to create in the

minds of third parties worldwide, including Plaintiffs and the Classes.

       111.    Furthermore, the entities comprising the Stanford Financial Group of companies,

including but not limited to SGC, STC, SFIS, SIBL, Stanford Group Ecuador, Stanford Group

Mexico, and Stanford Group Peru, all acted as the alter ego of each other and of Allen Stanford,

and Plaintiffs hereby adopt the alter ego arguments made by the U.S. Receiver, Ralph S. Janvey,

in his Response to the Antiguan Liquidators’ December 3, 2009 Supplemental Brief, in the

related case pending before this Court styled In re Stanford International Bank Ltd., C.A. No. 3-

09-CV-0721-N (docket #61) at pp. 11-16.

                               IX.    RESPONDEAT SUPERIOR

       112.    BDO is liable for the tortious and negligent acts of its principals, partners,

employees, and agents, including without limitation, Carlos Ancira. Ancira was acting within




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the course and scope of his partnership and employment with BDO, and in furtherance of BDO’s

business, when he engaged in the wrongful conduct described herein.

                                   X.    ACTUAL DAMAGES

       113.    Plaintiffs and the First Class have suffered the loss of at least $7.2 billion that was

proximately caused by the wrongful conduct of BDO as described herein. Plaintiffs and the

Second Class have suffered the loss of approximately $3.5 billion that was proximately caused

by the wrongful conduct of BDO as described herein. BDO is jointly and severally liable to

Plaintiffs and both Classes for the injuries caused by the Stanford Financial Group, including

SGC, STC, SFIS, and SIBL, under Texas common law of joint and several liability, as well as

under the Texas Securities Act.

                                  XI.    PUNITIVE DAMAGES

       114.    The wrongful conduct set forth herein constitutes fraud or malice, willful acts or

omissions, or gross neglect within the meaning of Tex. Civ. Prac. & Rem. Code §41.003.

Plaintiffs and both Classes are entitled to recover punitive damages in an amount necessary to

punish BDO and to deter similar conduct of others in the future.

                                   XII. ATTORNEYS FEES

       115.    Plaintiffs and both Classes are entitled to recover reasonable attorneys’ fees and

costs under the Texas Securities Act. See Tex. Rev. Civ. Stat. Ann. Art. 581-33D(6), (7).

       116.    Plaintiffs and both Classes are also entitled to recover reasonable attorneys’ fees

under the common-fund doctrine. See City of Dallas v. Arnett, 762 S.W.2d 942, 953 (Tex.

App.—Dallas 1988, writ denied).

                              XIII. CONDITIONS PRECEDENT

       117.    All conditions precedent to filing this Complaint have been met.




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                                      XIV. JURY DEMAND

       118.    Plaintiffs demand a trial by jury.

                                           XV. PRAYER

       119.    Plaintiffs request that BDO be summoned to answer this Complaint, that this

action be certified as a class action for the First Class’s claims, or if necessary, that this case also

be certified as a class action for the Second Class’s claims, that the case be tried before a jury,

and that upon final judgment, Plaintiffs and either the First Class or both Classes recover their

damages as alleged herein, including their actual damages, punitive damages, and their costs and

expenses of suit, including reasonable attorneys’ fees. Plaintiffs and both Classes pray for such

other and further relief to which they may be justly entitled.




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Dated: May 26, 2011
                                  Respectfully submitted,

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